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 JARED S. PETTINATO, MT Bar No. 7434
 The Pettinato Firm
 3416 13th St. NW, #1
 Washington, DC 20010
 (406) 314-3247
 Jared@JaredPettinato.com
 Attorney for Plaintiffs

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLORADO

  CITIZENS FOR
  CONSTITUTIONAL INTEGRITY;
  and                                    Case No.
  SOUTHWEST ADVOCATES, INC.,

              Plaintiffs,                COMPLAINT AND PETITION FOR
                                         REVIEW OF AGENCY ACTION
        v.

  THE UNITED STATES OF
  AMERICA;
  THE OFFICE OF SURFACE
  MINING RECLAMATION AND
  ENFORCEMENT;
  DAVID BERNHARDT, Department
  of the Interior Secretary, in his
  official capacity;
  LANNY ERDOS, Acting Director of
  the Office of Surface Mining
  Reclamation and Enforcement, in
  his official capacity; and
  CASEY HAMMOND, Acting
  Assistant Secretary for Land and
  Minerals Management, in his official
  capacity;

              Defendants.
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                               INTRODUCTION

     1. Fifty-one does not equal sixty. By setting two, unequal thresholds for

 passing bills in the Congressional Review Act1 and in the Senate’s Cloture

 Rule,2 commonly known as the filibuster, Congress violated equal protection,

 substantive due process, and the separation of powers. Under that

 unconstitutional, two-tiered voting threshold, Congress passed one law that

 undermined environmental protections at the King II Mine (the Mine), a coal

 mine in southwestern Colorado. By implementing that unconstitutional law,

 the Office of Surface Mining Reclamation and Enforcement (OSMRE)

 violated the Constitution and the Stream Protection Rule, 81 Fed. Reg.

 93,066 (Dec. 20, 2016), and failed to ensure the Mine would not impact local

 residents’ well water, wildlife, groundwater, and the La Plata River.

     2. In the striking, dry, high-desert of southwestern Colorado, the Mine

 takes water from the La Plata River, one of the few local, perennial streams,

 to control the dust as miners delve deeper into poorly understood geologic

 formations. The Mine’s owner, GCC Energy, LLC, does not know what

 happens to fluids that flow out of the Mine, and it does not know how digging


 1 Section 251 of the Contract with America Advancement Act of 1996, Pub. L.
 No. 104-121, 110 Stat 847, 868 (codified at 5 U.S.C. §§ 801-808) (Mar. 29,
 1996).
 2 Rule 22.2, Standing Rules, Orders, Laws, And Resolutions Affecting the

 Business of the United States Senate (113th Cong., 1st Sess.),
 gpo.gov/senatemanual.

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 the coal will impact underground water flows. The Mine extracts coal above-

 grade of Southwest Advocates, Inc.’s, members’ wells. GCC is failing to

 monitor the groundwater sufficiently to ensure pollutants are not mixing

 with the underground water, which supplies community members’ wells.

 These failures flow from OSMRE’s failure to require GCC to comply with the

 Stream Protection Rule.

    3. Citizens rely on their government agencies to protect them from coal

 mining pollution and to protect them from coal mines otherwise damaging

 their ecosystems. Here, the Stream Protection Rule required OSMRE and

 GCC to complete a more thorough analysis of the groundwater before

 approving the Modification, and the rule required more monitoring for

 pollutants after approving the Mine. It also required more analysis of the

 hydrologic impacts from diverting La Plata River water to the Mine and away

 from irrigated cropland.

    4. Despite the clear and present danger to this fragile ecosystem, where

 one drop of pollution spreads farther and lasts longer, OSMRE approved the

 Modification without complying with the Stream Protection Rule. Mine

 Approval for the Mining Plan Modification at the King II Mine (the Mine

 Approval), Ex. 1. OSMRE will likely approve a second expansion, called the

 Dunn Ranch lease, very soon.




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    5. OSMRE did not follow the Stream Protection Rule because, it contends,

 Congress rescinded the statutory basis for the rule, so the rule no longer has

 any effect. [OSMRE] Congressional Nullification of the Stream Protection

 Rule Under the Congressional Review Act, 82 Fed. Reg. 54,924 (Nov. 17,

 2017); Act of Feb. 16, 2017, Pub. L. No. 115-5, 131 Stat. 10. OSMRE,

 however, is failing to implement the Constitution to recognize Congress’s

 action as void.

    6. To rescind the Stream Protection Rule, Congress relied on the

 unconstitutional Congressional Review Act (the Review Act). See id. Through

 enabling statutes, Congress delegates authorities to agencies. The Review Act

 allows Congress to withdraw those statutory delegations with simple-

 majority votes in each House and with the President’s signature. The Review

 Act facially violates the Constitution in three ways.

    7. First, the Review Act and the Cloture Rule, together, violate equal

 protection. The Review Act allows Congress to rescind delegations to agencies

 with fifty-one votes, while the Cloture Rule prohibits other legislation from

 passing the Senate without sixty votes. The Review Act unequally protects

 citizens without advancing any important, or even legitimate, government

 objective.




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    8. Second, the Review Act violates substantive due process under the Fifth

 Amendment because it establishes no rational relationship to any legitimate

 objective.

    9. Third, the Review Act and the Senate Cloture Rule, XXII, together

 violate the separation of powers by creating a one-way ratchet for in which

 Congress to rescind Executive-Branch authorities more easily than expand

 them.

    10. Acts contrary to the Constitution are void. Marbury v. Madison, 5 U.S.

 137, 177 (1803). Because Congress used an unconstitutional procedure to

 withdraw the Stream Protection Rule, the withdrawal is void. 131 Stat. 10.

 Consequently, the Stream Protection Rule remains in force, and OSMRE

 violated the Constitution, Surface Mining Control and Reclamation Act of

 1977 (SMCRA), Pub. L. No. 95-87, 91 Stat. 445 (codified at 30 U.S.C. §§ 1201-

 1328), and the Administrative Procedure Act (APA), 5 U.S.C. §§ 701-706, by

 failing to apply it to the Mine Approval.

    11. The Review Act closely relates to two other statutes that violated the

 Constitution. The Supreme Court voided Congress’s first attempt at an

 expedited legislative veto. INS v. Chadha, 462 U.S. 919 (1983). It also voided

 the Line-Item Veto Act, which Congress had initially included in the bill with

 the Congressional Review Act. Clinton v. City of New York, 524 U.S. 417, 440




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 (1998).3 Congress passed the two bills separately within two weeks of each

 other. The unconstitutional provisions in the Review Act merely lay dormant

 longer.4

     12. No doubt, this case presents difficult questions of thorny constitutional

 dimensions. Nevertheless, courts do not shy from reviewing congressional

 rules for compliance with the Constitution when those rules affect individual

 citizens. When “the construction [of Senate] rules affects persons other than

 members of the Senate, the question presented is of necessity a judicial one.”

 United States v. Smith, 286 U.S. 6, 29, 33 (1932).

     13. This situation calls upon this Court to follow Chief Justice John

 Marshall’s direction to proceed to answering the Constitutional issue despite

 any doubts, complexities, or difficulties that may arise:

     The judiciary cannot, as the legislature may, avoid a measure because it
     approaches the confines of the constitution. We cannot pass it by because
     it is doubtful. With whatever doubts, with whatever difficulties, a case
     may be attended, we must decide it, if it be brought before us. We have no
     more right to decline the exercise of jurisdiction which is given, than to
     usurp that which is not given. The one or the other would be treason to the
     constitution. Questions may occur which we would gladly avoid, but we


 3 See Contract with America Advancement Act of 1996, Pub. L. No. 104-121,
 110 Stat 847, 847 (Mar. 29, 1996) (“To provide for enactment of the . . . Line
 Item Veto Act,”); Line Item Veto Act, Pub. L. No. 104-130, 110 Stat. 1200
 (Apr. 9, 1996).
 4 Until 2017, Congress used the Review Act only once: to rescind statutory

 authority for an ergonomics program. MAEVE P. CAREY & CHRISTOPHER M.
 DAVIS, CONG. RESEARCH SERV., R43992 THE CONGRESSIONAL REVIEW ACT:
 FREQUENTLY ASKED QUESTIONS 25 (Updated Jan. 14, 2020).

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    cannot avoid them. All we can do is, to exercise our best judgment, and
    conscientiously to perform our duty.

 Cohens v. Virginia, 19 U.S. 264, 404 (1821). In other words, the Constitution

 assigned this Court a duty to determine compliance with the Constitution’s

 constraints—and that duty attaches when, like here, Congress’s internal

 rules affect individual citizens. See id.; Smith, 286 U.S. at 29.

    14. SMCRA and the APA require the Court to vacate and to set aside the

 Mine Approval until OSMRE complies with the Stream Protection Rule. That

 will require all work under the Mine Approval to stop.

            CAUSE OF ACTION, JURISDICTION, AND VENUE

    15. United States Code Title 28, sections 1331 and 1361, assign this Court

 jurisdiction over this case both because the case presents a federal question

 and because it names the United States as a defendant. See Califano v.

 Sanders, 430 U.S. 99, 105 (1977).

    16. SMCRA’s citizen suit provision grants this Court jurisdiction because

 Southwest Advocates will be adversely affected by the Secretary of the

 Interior’s and OSMRE’s failures to apply the Stream Protection Rule. See 30

 U.S.C. § 1270(a).

    17. SMCRA also provides a private cause of action and waives the United

 States’ sovereign immunity. See id.




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    18. To the extent SMCRA does not grant judicial review, the APA, 5

 U.S.C. §§ 701-706, provides a cause of action and waives sovereign immunity.

    19. The statute commonly known as the Declaratory Judgment Act, Act of

 June 14, 1934, Pub. L. No. 73-343, 48 Stat. 955 (1934) (codified at 28 U.S.C.

 §§ 2201-02), grants this Court authority to issue declaratory judgment.

    20. Moreover, 28 U.S.C. § 1361 grants this Court authority to issue a writ

 of mandamus.

    21. Because the King II Mine mining happens within the geographic

 borders of Colorado, SMCRA’s citizen-suit provision designates this judicial

 district as the “only” venue for this action. 30 U.S.C. § 1270(c)(1); see 28

 U.S.C. § 85.

                                  PLAINTIFFS

    22. Citizens for Constitutional Integrity is a nonprofit organization that

 develops and advocates for legislation, regulations, and government

 programs. They are citizens holding governments accountable to their

 constitutions. Under the rule of law, everything the government does

 qualifies as legal or illegal. Citizens for Constitutional Integrity watches for

 actions that contravene our bedrock, fundamental principles, circumstances,

 and motivations that drove the Founding Fathers and the people in drafting

 and adopting the Constitution.




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    23. Southwest Advocates, Inc., (once-named SW CO Advocates, Inc.), is a

 Colorado nonprofit corporation that aims to stop the degradation, and to

 improve, the environmental integrity, health, water quality, water quantity,

 air quality and other benefits of the impacted high desert ecosystems of the

 Four Corners Area for humans, plants, and animals who may live in, or who

 may return to a healthier ecosystem. Southwest Advocates’ members live in

 and around the King II Mine. For years in hearings at the La Plata County

 Commission (the County), Southwest Advocates consistently expressed

 concerns and sought to save their neighborhood, their water, and their

 ecosystem. They produced voluminous expert reports on the impacts of the

 King II Mine on the local community.

    24. The stark and serene, high-desert beauty drew many Southwest

 Advocates members to this area. They adore the sage brush, and piñon-

 juniper gulches, and they feel joy at living with their neighbors that include

 bobcats, bears, mountain lions, coyotes, jack rabbits, harrier hawks, kestrels,

 peregrine falcons, and golden eagles. Some members’ well water comes from a

 coal seam. They use that water for laundry and bathing; and they plan to use

 it for horses to drink.

    25. Other Southwest Advocates members appreciate the La Plata drainage

 as part of the “thin green line” of species-rich riparian systems, which snake

 through the Western arid landscapes, and are continually threatened by


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  water projects and development. They love the open spaces, natural water

  systems, and piñon-juniper woodland adjacent to the La Plata drainage. They

  love seeing the wildlife, such as deer and bobcats, great-horned owls, and

  willow flycatchers.

     26. The La Plata River runs through the area. Already, climate change

  threatens its flow, and the Mine is taking even more water from the river and

  from the groundwater aquifers underlying the area. Less water will support

  fewer animals and fewer trees and shrubs. Already, some trees that once

  thrived have died. Not only does the Mine take water out of the ecosystem;

  burning the coal also exacerbates the climate change that is drying up the

  area. Citizens for Constitutional Integrity and Southwest Advocates

  (collectively, Citizens) seek to protect the area from this expanding coal mine

  that threatens their well water, their river water, and their way of life.

                                 DEFENDANTS

     27. The United States owes its citizens a duty to comply with the

  Constitution.

     28. David Bernhardt serves as Secretary of the Department of the Interior.

  Mr. Bernhardt oversees and directs the Department of the Interior’s

  (Interior) activities.

     29. Lanny Erdos serves as Acting Director of OSMRE. Mr. Erdos oversees

  and directs OSMRE’s activities.


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     30. Casey Hammond serves as Acting Assistant Secretary for Land and

  Minerals Management. He exercises delegated authority on behalf of the

  Secretary that includes overseeing and directing OSMRE’s activities.

                             LEGAL BACKGROUND

  I. The Mineral Leasing Act

     31. The act commonly known as the Mineral Leasing Act of 1920 (the

  Mineral Act), Pub. L. No. 66-146, 41 Stat. 437 (Feb. 25, 1920), authorizes the

  Secretary to lease coal deposits that the United States owns. Although the

  Bureau of Land Management (BLM), a component within Interior, generally

  leases federal coal rights, the Mineral Act assigns the Secretary

  responsibility to approve a Mining Plan that leases those rights only in the

  “public interest” and according to the “terms and conditions” the Secretary

  requires. 30 U.S.C. §§ 201(a)(1), 207(a), 207(c).

  II. The Surface Mining Control Act

     32. OSMRE had issued the Stream Protection Rule under the Surface

  Mining Control and Reclamation Act (SMCRA). Through SMCRA, Congress

  intended to “[en]sure that surface coal mining operations are so conducted as

  to protect the environment”; it “exercise[d] the full reach of Federal

  constitutional powers to [e]nsure the protection of the public interest through

  effective control of surface coal mining operations.” Id. § 1202(d), (m).




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     33. Congress enacted SMCRA in 1977 because it found “many surface

  mining operations” will “destroy[] or diminish[] the utility of land,” cause

  “erosion and landslides,” pollute water, destroy fish and wildlife habitats,

  impair natural beauty, and degrade “the quality of life in local communities.”

  Id. § 1201(c). Congress sought to “minimize damage to the environment and

  to productivity of the soil and to protect the health and safety of the public.”

  Id. § 1201(d).

     34. To prevent and to remedy these problems, Congress created “a

  nationwide program to protect society and the environment from the adverse

  effects of surface coal mining operations.” Id. § 1202(a). It established a

  “cooperative federalism” program for coal mining and empowered OSMRE to

  promulgate regulations. Id. § 1211(c)(2); Hodel v. Va. Surface Mining

  Reclamation Ass’n, 452 U.S. 264, 289 (1981). States generally take primary

  jurisdiction to regulate coal mining for “their own particular needs.” Hodel,

  452 U.S. at 289.

     35. In some situations, however, the United States retains control over

  surface mining. SMCRA regulations make the Secretary “responsible” for

  approving or disapproving mining plans on “lands containing leased Federal

  coal . . . . in accordance with the Mineral Leasing Act . . . .” Id. § 740.4(a),

  (a)(1). On “Indian lands,” Congress also retained federal control. 30 U.S.C. §§

  1253, 1300; 30 C.F.R. § 750.6(a).


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     36. To regulate surface coal mining, SMCRA uses two “basic mechanisms:

  a permit system and a series of performance standards.” Nat’l Wildlife Fed’n

  v. Hodel, 839 F.2d 694, 699 (D.C. Cir. 1988) (citations omitted). Before issuing

  a coal mining permit, SMCRA requires mining companies to “submit detailed

  information concerning the environmental consequences of the proposed

  mining operations and include a plan for reclaiming affected lands as

  required by the Act.” Id.; 30 U.S.C. §§ 1256(a), 1266(b). And after mining

  begins, SMCRA requires mining companies to “adhere to the statutory

  environmental performance standards, many of which relate to the obligation

  to restore and reclaim affected lands.” Nat’l Wildlife Fed’n, 839 F.2d at 699.

     37. As one of the most important parts of the permitting process, SMCRA

  requires mining companies to assess “the probable cumulative impact of all

  anticipated mining in the area on the hydrologic balance” and “to prevent

  material damage” to that balance—not only inside but also outside the permit

  area. 30 U.S.C. § 1260(b)(3). Specifically, SMCRA requires mining companies

  to “protect offsite areas from damages which may result from [underground]

  mining operations” Id. § 1266(b)(7).

     38. SMCRA regulations require a mining plan to comply with federal laws,

  regulations, and executive orders. See 30 C.F.R. § 746.13. Without a mining

  plan, no one can mine any federal coal they lease. Id. § 746.11(a). The mining

  plan, in turn, “bind[s]” the miners. Id. § 746.17(b). When OSMRE exercises


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  jurisdiction to approve a mining plan, it sends “a decision document

  recommending to the Secretary approval, disapproval or conditional approval

  of mining plans and of modifications thereto.” Id. § 740.4(b)(1).

  III. The Congressional Review Act

      39. Congress passed the Congressional Review Act as a new, easier

  method for overturning Executive Branch decisions.5 Passed in 1996,

  Congress intended it to implement a legislative veto to replace the one the

  Supreme Court struck down in 1983. See 141 CONG. REC. H 5099 (May 17,

  1995) (statement of Rep. Gekas); Chadha, 462 U.S. 919. The Review Act both

  (a) describes the effect of future statutes passed under it and (b) creates a

  process for passing those future statutes.

      40. If Congress and the President pass a statute that invokes specific

  words for a rule, the Review Act directs courts to interpret that statute to

  repeal whatever statutory authority the agency could have relied on to issue

  that rule. See 5 U.S.C. §§ 801(b)(1). The Review Act specifies these words:

  “That Congress disapproves the rule submitted by the _______ relating to

  ______ and such rule shall have no force or effect.” Id. § 802(a). When

  Congress revokes statutory authority for an agency rule this way, the Review




  5See H. Rep. 104-874 at 67 (1996), congress.gov/104/crpt/hrpt874/CRPT-
  104hrpt874.pdf.

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  Act prohibits the agency from issuing any future rule that is “substantially

  the same.” Id. § 801(b)(2).

      41. The Review Act’s procedures allow Congress to pass statutes with

  simple majorities in both houses and thereby to evade the Senate’s sixty-vote

  Cloture Rule to end a filibuster.

      42. To close debate on most bills and thereby to allow the Senate to vote,

  the Senate’s Cloture Rule requires sixty votes on a cloture motion. Since the

  Senate changed its rules in 1975, filibusters have not worked like the talking

  filibuster in MR. SMITH GOES TO WASHINGTON.6 As the Congressional

  Research Service recognizes, “[t]hreatened filibusters on motions to proceed

  once were rare but have become more common in recent years.”7 As

  threatened filibusters increased, so did the number of cloture votes.8

      43. Today, no legislation passes the Senate when forty-one senators do not

  consent. Congress’s own specialists acknowledge that bills subject to

  filibusters do not pass the Senate without sixty votes to invoke cloture: “when

  the requisite support cannot be assembled to invoke cloture . . ., the measure




  6 VALERIE HEITSHUSEN & RICHARD S. BETH, CONG. RESEARCH SERV.,
  FILIBUSTERS AND CLOTURE IN THE SENATE ii (Apr. 7, 2017),
  crsreports.congress.gov/product/pdf/RL/RL30360; MR. SMITH GOES TO
  WASHINGTON (Columbia Pictures 1939).
  7 FILIBUSTERS AND CLOTURE IN THE SENATE 10.
  8
    U.S. Senate, Cloture Motions,
  https://www.senate.gov/legislative/cloture/clotureCounts.htm.

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  . . . that is being filibustered will not receive chamber approval . . . .”

  FILIBUSTERS AND CLOTURE IN THE SENATE 18. That effectively creates a sixty-

  vote threshold. See King v. Burwell, 135 S. Ct. 2480, 2492 (2015) (recognizing

  “the Senate’s normal 60-vote filibuster requirement”).

     44. The Review Act replaces the sixty-vote threshold in the Senate with a

  simple-majority-vote threshold for passing a very narrow set of statutes. 5

  U.S.C. § 802(g)(1).

  IV. The Administrative Procedure Act

     45. The Administrative Procedure Act creates a three-step procedure for

  “notice-and-comment rulemaking.” 5 U.S.C. § 553; Perez v. Mortg. Bankers

  Ass’n, 575 U.S. 92, 96 (2015). First, the agency publishes a notice of proposed

  rulemaking in the Federal Register. 5 U.S.C. § 553(b). Second, it gives

  interested persons an opportunity to comment, and courts require responses

  to significant comments. Id. § 553(c). Third, the agency promulgates the final

  rule by publishing it in the Federal Register with “a concise general

  statement of [its] basis and purpose.” Id. § 553(c). These “legislative rules”

  issued through this notice-and-comment process have the “force and effect of

  law.” Perez, 575 U.S. at 96 (quotations omitted).

     46. The APA also creates a system of judicial review. 5 U.S.C. §§ 701-706.

  Courts routinely apply “APA standards to rulemaking actions undertaken

  pursuant to SMCRA.” Ohio River Valley Envtl. Coal., Inc. v. Kempthorne, 473


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  F.3d 94, 101 n.5 (4th Cir. 2006). The APA assigns courts to review “[a]gency

  action made reviewable by statute and final agency action for which there is

  no other adequate remedy in a court.” 5 U.S.C. § 704; Ohio River Valley, 473

  F.3d at 100.

     47. Under administrative law, the APA requires courts to undertake a

  “thorough, probing, in-depth review.” Citizens to Preserve Overton Park v.

  Volpe, 401 U.S. 402, 415 (1971), overruled on other grounds by Califano, 430

  U.S. at 107. Upon that review, the APA directs the Court to “hold unlawful

  and set aside agency action, findings, and conclusions” that qualify as

  “contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C. §

  706(2)(A), (B).

                          FACTUAL BACKGROUND

  I. The King II Mine expanded and caused more intense impacts as
      Southwest Advocates fought those impacts.

     48. The King Coal Mine (King I Mine) started southwest of Hesperus,

  Colorado, in 1938 as a small, mom-and-pop mine. See Modification Envtl.

  Assessment (Mod. EA) 13, Ex. 2. Since buying the business in 2005, GCC has

  expanded this once-small mine into a major coal-producing enterprise. Mod.

  EA 13.

     49. In 2001, National King Coal, LLC, employed thirty-three people. Nat’l

  King Coal, LLC, Coal Lease Application, East Alkali Tract, COC 62920,



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  Envtl. Assessment 4 (June 18, 2001) (King II EA), Ex. 3. It produced up to

  300,000 tons per year, and every day, eighteen to twenty-eight coal trucks,

  each weighing thirty tons, traveled County Road 120. Id. at 15.

     50. In 2007, GCC expanded operations to the King II Mine: 1,224 acres

  southwest of King I and across County Road 120. King II EA 5; Finding of No

  Significant Impact (FONSI) for King II (Feb. 22, 2007), Ex. 4. The BLM and

  OSMRE expected the company had enough coal to mine there until 2026, but

  the company finished by 2009. King II EA 16; Mod. EA 13. That shortened

  time frame resulted from GCC mining more coal faster.

     51. In 2000, King I produced approximately 160,000 tons of coal. King II

  EA 4. By 2014, the company’s was mining six times as much coal: 970,790

  tons per year. Mod. EA 15 (160,000 / 970,790 = 6.0). By 2022, it may produce

  seven times as much coal: 1,067,040 tons. Mod. EA 37.

     52. Now, GCC plans on expanding not only with the 950.55-acre

  Modification, but also with a 2,462-acre Dunn Ranch lease. Mod. EA 14;

  Dunn Ranch Area Lease-By-Application and Mine Plan Modification Envtl.

  Assessment (Dunn Ranch EA) 1-1, Ex. 5. In contrast to the 18-28 trucks

  driving on County Road 120 in 2001, GCC anticipates 120 trucks hauling

  coal, “around the clock” to their cement plants—either directly or by train via

  the Gallup, New Mexico, BNSF Railway Co. terminal. King II EA 15; Mod.

  EA 15, 37-38; La Plata Cnty. Bd. of Cnty. Comm’rs, Dep’t Report 5 (May 31,


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  2016), Ex. 6. Between the Modification and the Dunn Ranch Lease, GCC

  intends to continue operating the King II Mine until 2043. Dunn Ranch EA 1-

  3.

       53. Southwest Advocates has been fighting the Mine expansion’s impacts

  on the local community for years—in front of the La Plata County

  Commission, the Colorado Department of Mining Safety and Enforcement,

  and OSMRE.

       54. In 2006, the La Plata County Commission did not realize its

  ordinances required GCC to obtain a local land-use permit for the King II

  Mine. Dep’t Report 3. By 2010, however, the County realized it could require

  a permit. Id. It informed GCC that it would require GCC to obtain a land-use

  permit. Id. GCC had no incentive to comply promptly because it was already

  removing coal out of the ground. GCC took two years even to apply for a haul-

  truck permit on County Road 120. Id.

       55. Then, the County took six more years to issue GCC the permit—ten

  years after the local ordinances would have required the permit. See La Plata

  Cnty. Special Planning Meeting Mins. 24 (June 1, 2016), Ex. 7. GCC

  continued mining coal during that lengthy delay. Instead of facilitating the

  process, GCC bullied the neighbors, drug its feet, and resisted every

  mitigation measure. Again, because GCC continued mining, the County had

  little leverage.


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     56. Southwest Advocates members watched this Mine change their homes

  and their ways of living. Ultimately, they managed to extract from GCC a few

  conditions, which did little to mitigate the impacts.

     57. The County held seven public hearings: two in 2014, one in 2015, and

  four in 2016. Dep’t Report 3-4. Until the last, the County postponed any

  decision “due to significant public comment,” or because GCC presented “new

  information that had not been reviewed by the County or the public,” or to

  allow GCC to negotiate with neighborhood groups. Id.

     58. In the meantime, Southwest Advocates and likeminded citizens filed

  with the County voluminous comments and expert reports on the various

  Mine impacts. See id. at 32-34 (listing public comment letters), 47-49 (listing

  18 reports). The reports analyzed air quality, noise and vibration, traffic, and

  water quality. Id. at 46.

     59. Southwest Advocates commissioned a report that explained the risks

  of Mine pollutants connecting through the area’s complex geologic structures

  to domestic wells and to the La Plata River. Letter from Randolph Fischer,

  P.E., to Cynthia Roebuck, Executive Director for Sw. Advocates (Dec. 19,

  2015), Ex. 8. It found the Mine’s “potential water quality impacts may result

  in possible human health and environmental consequences.” Id. at 1.

  Pollutants from the Mine could migrate down the “natural downgradient . . .

  in the Hay Gulch alluvial aquifer system,” and could “affect the quality of


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  water . . . domestic and agricultural wells.” Id. Pollutants could also

  contaminate domestic wells through “interconnections between the geologic

  formations in which mining is occurring or is planned to occur.” Id. at 2. The

  Mine’s pollutants could drain into the La Plata River and impact the local

  “surface water quality and . . . aquatic ecosystem.” Id. at 1.

     60. Moreover, the mining could cause subsidence fractures, which could

  drain or disrupt surface waters, groundwater, and confined bedrock aquifers

  above mined-out areas. Id. In other words, the mining subsidence could

  create cracks and leaks that could dewater the perched aquifers from which

  residents draw their wells. See id. Thus, even if the Mine is removing coal

  from below domestic wells, the settling ground could cause wells to go dry.

  See id.

     61. Based in large part on Southwest Advocates’ efforts and voluminous

  public comments, the County required GCC to abide by twenty-eight

  conditions on the land-use permit. La Plata Cnty. Special Planning Meeting

  Mins. 24-33. Because the County permit focused on the road safety and

  traffic impacts, so did the County’s conditions.

     62. The County required some slight mitigation measures that did not

  impact water quality:

      Flashing warning signs,

      Speed limits for coal-hauling trucks,


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         Radar signs that displayed drivers’ speed,

         Manual radar speed-checks of coal-hauling trucks,

         Publishing the trucks’ speeds,

         Sundays without truck traffic,

         Noise mitigation,

         Noise buffering on two parcels, and

         Road maintenance fees.

  Id.

        63. The County required GCC to survey and to mitigate weeds, to secure

  the water rights it was pursuing, to provide parking and an expanded septic

  system for its workforce. Id. Although two conditions relate to water-quality,

  they have no teeth. The two conditions just require GCC to complete

  monitoring it was already pursuing and to post the monitoring results on a

  website. Id. at 27, 30-31.

        64. Despite Southwest Advocates’ years of work, volunteer efforts,

  members’ attendance at meetings, letters, and comments, GCC did little to

  ensure its mining pollution would not impact local residents’ wells. It did

  nothing to ensure that the La Plata River maintained the flow from before

  the drastic Mine expansion.




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  II. The Stream Protection Rule resulted from over twelve years of
      analysis.

     65. While La Plata County was taking its time in requiring GCC to

  complete these minimal mitigation measures, and ultimately doing little to

  secure local residents’ water supply, OSMRE was completing a thirteen-year

  effort that culminated in the Stream Protection Rule. That saga begins with a

  relatively modest, 2004 proposal related to mine waste and streams. In 2016,

  OSMRE issued a final rule that overhauled the entire SMCRA regulatory

  regime. In 2017, Congress unconstitutionally rescinded statutory authority

  for that rule.

     66. In 2004, OSMRE proposed the Excess Spoil; Stream Buffer Zones;

  Diversions Rule, 69 Fed. Reg. 1,036 (Jan. 7, 2004). There, the agency sought

  to reconsider and to minimize effects on streams from mining companies

  depositing waste materials next to streams. Id.; see 30 C.F.R. § 710.5

  (defining spoil and overburden). Instead of issuing a final rule, however,

  OSMRE concluded that it could better assess alternatives in an

  environmental analysis. Notice of Intent to Prepare an Envtl. Impact

  Statement, 70 Fed. Reg. 35,112 (June 16, 2005).

     67. Three years later, OSMRE issued an expanded new rule that amended

  the SMCRA regulations related to streams coal-mine waste material. Excess




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  Spoil, Coal Mine Waste, and Buffers for Waters of the U.S., 73 Fed. Reg.

  75,814 (Dec. 12, 2008).

     68. Ten environmental groups immediately challenged that 2008 rule in

  two lawsuits. After six years of litigation, OSMRE confessed legal error for

  violating the Endangered Species Act, 16 U.S.C. §§ 1531-1544. Nat’l Parks

  Conservation Ass’n v. Jewell, 62 F. Supp. 3d 7, 11 (D.D.C. 2014).

     69. On remand, OSMRE again expanded the scope of the regulations to

  propose the Stream Protection Rule. 80 Fed. Reg. 44,436 (July 27, 2015). This

  time, OSMRE proposed revising its regulations, based on “advances in

  science” and other new information, “to improve the balance between

  environmental protection and the Nation’s need for coal as a source of

  energy.” Id. Members of the public and government agencies sent 94,000

  written or electronic comments. 81 Fed. Reg. at 93,070.

     70. Over the next year, OSMRE considered the comments and

  incorporated responses into the final rule. At over 380 Federal Register

  pages, the Stream Protection Rule fundamentally changed the SMCRA

  regulations. Id.

     71. OSMRE identified voluminous benefits from the Stream Protection

  Rule. From 2020 to 2040, OSMRE predicted that the rule would

      restore 462 miles intermittent and perennial streams,




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      improve water quality in 5,523 miles of intermittent and perennial
       streams downstream of mine sites,

      protect 84 miles of intermittent and perennial streams from excess
       spoil fills or coal mine waste facilities, and

      improve reforestation on 51,828 acres of mined land.

  81 Fed. Reg. at 93,069 (22 miles, 263 miles, 4 miles, and 2,486 acres,

  respectively, each year multiplied by 21 years).

     72. The Stream Protection Rule would create 280 jobs. Id. It will reduce

  greenhouse gas emissions by 2.6 million short tons in one year, which

  OSMRE projects would benefit the United States by $57 million each year in

  reduced carbon dioxide emissions. Id.

     73. OSMRE concluded that the Stream Protection Rule would “better

  protect the water resources needed by current and future generations for

  drinking, recreation, and wildlife from the adverse effects of coal mining.” Id.

  at 93,073. It concluded that, “[e]ven if [lower impacts on water resources]

  were the only benefits of the rule, and they are not, the benefits to water

  resources alone are sufficient to support and justify a nationwide

  rulemaking.” Id.

  III. Congress used the Review-Act, legislative shortcut to withdraw
     OSMRE’s authority for the Stream Protection Rule.

     74. OSMRE issued the Stream Protection Rule in December 2016. In

  January 2017, the House approved House Joint Resolution 38. Pub. L. No.

  115-5, 131 Stat. 10 (Feb. 16, 2017), congress.gov/115/plaws/publ5/PLAW-


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  115publ5.pdf. The Senate approved it the next day, and the President signed

  it the next month. Id. Later in 2017, OSMRE withdrew the Stream Protection

  Rule from the Federal Register. Congressional Nullification of the Stream

  Protection Rule Under the Congressional Review Act, 82 Fed. Reg. 54,924

  (Nov. 17, 2017).

  IV. The King II Mine Expanded Two More Times since 2017.

     75. With the Stream Protection Rule out of the way, GCC sought to

  expand the King II Mine immediately.

     76. In March 2017, GCC submitted to OSMRE a permit application

  package to revise Federal Permit CO-0106A to mine 950.55 additional acres

  at the King II Mine. Mod. EA 12.

     77. Ten months later, in January 2018, GCC submitted to OSMRE a Lease

  by Application package for the Dunn Ranch lease, which would allow GCC to

  mine 2,462 acres adjacent and northwest of the King II Mine. Dunn Ranch

  EA 1-1.

     78. OSMRE did not analyze either the Mine Approval to determine

  whether it complied with the Stream Protection Rule. The analyses in the

  Mine Approval violate the rule in several ways.

     79. First, OSMRE failed to apply the fundamentally overhauled Stream

  Protection Rule to the Mine, and that undermines every conclusion it

  reached.


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     80. Second, OSMRE failed to protect the La Plata River from drying up

  more than necessary by failing to apply the Stream Protection Rule’s new

  definition of material damage to the hydrologic balance.

     81. Third, OSMRE failed to consider the impacts, on the hydrologic

  balance, from lost groundwater diverted from the La Plata River to the Mine,

  instead of the Huntington farm.

     82. Fourth, OSMRE failed to implement the robust monitoring procedures

  that the Stream Protection Rule requires to ensure mines do not pollute the

  nearby wells and groundwater.

     83. OSMRE committed these failures despite a complex underlying

  geology. GCC’s own expert admitted that “[t]he environ[ment] encompassing

  the King I and King II Mines is a microcosm of complexity.” County Report

  565. It recognized that “[l]ow [total dissolved solids in the] water from the La

  Plata River, via the Hay Gulch Ditch can mix with regional rainwater and

  existing shallow aquafers [sic] to produce mixed and ever changing water

  sources.” Id. Moreover, it found, “[t]he complex nature of the interaction of

  various water sources within the Hay Gulch environ precludes

  straightforward interpretations of the presented data.” Id.

     84. Hay Gulch Ditch, Inc., owns the water rights in the Hay Gulch

  Irrigation Ditch, and it diverts water from the La Plata River south of

  Highway 160 through Hay Gulch, itself. See In re GCC Energy, LLC, No.


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  2015CW3029, ¶¶ 6.1.2, 6.1.7 (D. Ct. Water Div. Jan. 6, 2017), Ex. 9. Some

  water returns to the La Plata River south of the Mormon Reservoir. Id. at 4;

  Dunn Ranch EA 3-13.




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     85. OSMRE never rebutted a 1985 report by the U.S. Geological Survey

  that found that mining in Hay Gulch had already polluted the aquifers and

  degraded the water quality there:

     Mining of coal in the Menefee Formation in the Hay Gulch study area has
     resulted in the degradation of water quality in the alluvial aquifer.
     Contamination from past and present mining has affected water quality in
     the alluvium in upper Hay Gulch . . . .

  TOM BROOKS, U.S. GEOLOGICAL SURVEY, HYDROLOGY OF COAL-LEASE AREAS

  NEAR DURANGO, COLORADO 34, Ex. 10. The U.S. Geological Survey found that

  “[e]ffects from coal mining may extend to distant drainages. Additional data

  collection would provide a more complete framework for assessing the

  hydrologic effects of mining.” Id. Therefore, even as OSMRE failed to comply

  with its legal obligations, it also ignored unfavorable information on this

  massive coal mine expansion.

     A. OSMRE applied the wrong standard of review by failing to apply new
        definitions of “hydrologic balance” and “material damage.”

     86. OSMRE’s failure to apply the Stream Protection Rule fatally

  undermined its SMCRA analysis because it consequently applied the wrong

  definitions for determining impacts.

     87. Among its most important directives, SMCRA requires mine operators

  to prevent “material damage to the hydrologic balance outside the permit

  area.” 30 U.S.C. § 1260(b)(3). The Stream Protection Rule redefines the

  standard “hydrologic balance” to account for “interactions that result in


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  changes in the chemical composition or physical characteristics of

  groundwater and surface water.”9 It changed the definition of “[m]aterial

  damage to the hydrologic balance outside the permit area” to require “each

  permit [to] establish the point at which adverse mining-related impacts on

  groundwater and surface water reach an unacceptable level . . . .”10 OSMRE

  never applied this new definition.

      B. OSMRE failed to prevent material damage to the hydrologic balance
         near the La Plata River.

      88. Applying the wrong law led to lower flows in the La Plata River. The

  Stream Protection Rule requires OSMRE to decide whether the “proposed

  operation has been designed to prevent material damage to the hydrologic

  balance outside the permit area.” Id. It requires permitees to identify the

  premining baseline to ensure that “perennial streams located outside the

  permit area will retain perennial flows . . . during and after mining and

  reclamation.” 30 C.F.R. § 780.21(b)(9)(iii), 81 Fed. Reg. at 93,341.

      89. If OSMRE had completed the analysis the rule required, it would have

  realized that the Mine was taking so much water from the La Plata River

  that it risked the river running dry more often. The Colorado Water Court




  9 Compare 30 C.F.R. § 701.5 with Stream Protection Rule, 30 C.F.R. § 701.5,
  81 Fed. Reg. 93,321.
  10 Compare 30 C.F.R. § 701.5 with Stream Protection Rule, 30 C.F.R. § 701.5,

  81 Fed. Reg. at 93,068, 93,322.

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  calculated the volume of water the Mine could buy from the Huntington farm

  “not based on historic monthly CCU, but rather [on] the actual daily [volume]

  available for the [Huntington farm’s] 44 Acres based on water availability . . .

  .” In re GCC Energy, LLC, No. 2015CW3029, ¶ 6.1.8(e) (D. Ct. Water Div.

  Jan. 6, 2017) (emphasis added); In re GCC Energy, LLC, No. 07CW100, ¶

  6.8.4 (D. Ct. Water Div. Apr. 20, 2011) (same for nine acres), Ex. 11. This

  subtle switch led to lower flows in the La Plata River.

     90. OSMRE issued the Stream Protection Rule to protect rivers like the La

  Plata. It has failed to protect the La Plata.

     C. OSMRE failed to consider groundwater losses from diverting water
        from 56 acres of dried-up land.

     91. In the Modification EA and again in the Dunn Ranch EA, OSMRE

  failed to analyze losses to the ground water from diverting Hay Gulch Ditch

  water from the Huntington farm to the Mine. It never accounted for

  irrigation water that historically infiltrated through Huntington’s irrigated

  land to recharge the groundwater. See Harris Water Eng’g, Inc., GCC Energy

  Mine, Substitute Water Supply Plan 3-6 (Oct. 8, 2015), Ex. 12. OSMRE failed

  to assess the “probable cumulative impacts of all anticipated coal mining on

  the hydrologic balance in the cumulative impact area,” and that violated the

  rule, 30 C.F.R. § 773.15(e).




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       92. The Stream Protection Rule requires OSMRE to analyze a mine

  approval’s impacts on “[t]he availability of groundwater and surface water,

  including the impact of any diversion of surface or subsurface flows to

  underground mine workings . . . .” 30 C.F.R. § 784.20(a)(5)(v), 81 Fed. Reg. at

  93,340. When the Huntington farm used its water to irrigate crops, some

  water would have infiltrated into groundwater and never returned to Hay

  Gulch Ditch, but the Water Court and the Modification EA never accounted

  for those groundwater losses. See In re GCC Energy, LLC, No. 2015CW3029,

  ¶ 6.1.8(e); In re GCC Energy, LLC, No. 07CW100, ¶ 6.8.6 (D. Ct. Water Div.

  Apr. 20, 2011); Substitute Water Supply Plan 4. Failing to account for that

  lost groundwater violated the Stream Protection Rule, 30 C.F.R. §

  784.20(a)(5)(v).

       D. OSMRE failed to monitor the groundwater for all contaminants the
          Stream Protection Rule required.

       93. OSMRE failed to require GCC to monitor for enough contaminants.

  The Stream Protection Rule lists the contaminants it requires mines to

  monitor, but the Mine did not monitor for all of them.11




  11Compare Stream Protection Rule, 30 C.F.R. § 780.19(a)(2),
  780.19(b)(6)(ii)(D), 85 Fed. Reg. at 93,336-37, with Mod. EA C-1, Table 2.

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                                                 Stream
                                                 Protection Rule       King II
   Pollutant                                     Required              Completed
   Bicarbonate                                   Yes                   Yes
   Calcium                                       Yes                   Yes
   Conductivity                                  Yes                   Yes
   Iron                                          Yes                   Yes
   Magnesium                                     Yes                   Yes
   Manganese                                     Yes                   Yes
   pH                                            Yes                   Yes
   Sodium                                        Yes                   Yes
   Sulfate                                       Yes                   Yes
   Temperature                                   Yes                   Yes
   Total dissolved solids                        Yes                   Yes
   Any cation or anion that constitutes a
   significant percentage of the total ionic
   charge balance, but that was not
   included in the analyses of major anions
   and major cations                             Yes                   No
   Cation-anion balance of dissolved major
   cations and dissolved major anions            Yes                   No
   Chloride                                      Yes                   No
   Hot acidity                                   Yes                   No
   Potassium                                     Yes                   No
   Selenium (dissolved)                          Yes                   No
   Total alkalinity                              Yes                   No

     94. Separately, the Stream Protection Rule required GCC to provide “the

  Palmer Drought Severity Index for the proposed permit and adjacent areas

  for the initial baseline data collection period . . . .” Stream Protection Rule, 30

  C.F.R. § 780.19(b)(6)(iii), 81 Fed. Reg. at 93,362. Consequently, the Mine has

  no baseline against which to compare the monitoring now. SMCRA, the

  Stream Protection Rule, and the APA require OSMRE to stop the mining

  immediately, to monitor for all of the pollutants to develop the baseline, to



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  consider the Palmer Drought Severity Index, and to reevaluate whether to

  approve the Mine.

     95. As 30 U.S.C. § 1270, and 30 C.F.R. § 700.13, require, Citizens and

  Southwest Advocates sent a letter to OSMRE, GCC, and others on October

  14, 2020, to provide sixty days of notice before filing this lawsuit. Ex. 13.

                                     COUNT 1

     96. Citizens hereby adopts by reference the previous paragraphs.

     97. On their faces, the Congressional Review Act and the Cloture Rule,

  together, violate the equal protection in the Fifth Amendment by protecting

  citizens differently depending on the type of statute that protects them.

     98. They treat differently (a) citizens protected by statutes that delegate

  authorities to agencies and (b) citizens protected by other statutes. The

  Review Act therefore takes away equal protection of the laws from Southwest

  Advocates and other citizens.

     99. The Stream Protection Rule protected the waters of the United States.

  By unconstitutionally depriving Southwest Advocates and other citizens of

  equal protection under the law, the Review Act and the Cloture Rule violate

  the equal protection guarantee in the Fifth Amendment. See Sessions v.

  Morales-Santana, 137 S. Ct. 1678, 1686 n.1 (2017) (applying equal protection

  principles from the Fourteenth Amendment to the United States under the

  Fifth Amendment).


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     100. As a consequence of applying an unconstitutional law, OSMRE failed

  to apply the Stream Protection Rule to the Mine Approval, and therefore

  violated SMCRA. Because OSMRE applied the wrong law, SMCRA and the

  APA require the Court to hold the Mine Approval unlawful. See NLRB v.

  Brown, 380 U.S. 278, 292 (1965) (“Courts must, of course, set aside [agency]

  decisions which rest on an erroneous legal foundation.”) (quotations omitted);

  SEC v. Chenery Corp., 318 U.S. 80, 94 (1943) (“if the action is based upon a

  determination of law . . ., an order may not stand if the agency has

  misconceived the law.”).

                                       COUNT 2

     101. Citizens hereby adopts by reference the previous paragraphs.

     102. On its face, the Congressional Review Act violates substantive due

  process in the Fifth Amendment because the Review Act fails the rational

  basis test.

     103. Without evidence of agency bad faith or any reasonably calculated

  possibility that a lower voting threshold would cure that bad faith, no

  rational basis exists for reducing the voting threshold for withdrawing

  statutory delegations to agencies.

     104. Moreover, changing the Constitutional thresholds for passing laws

  does not qualify as a legitimate government objective.




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     105. As a consequence of applying an unconstitutional law, OSMRE failed

  to apply the Stream Protection Rule to the Mine Approval and therefore

  violated SMCRA. Because OSMRE applied the wrong law, SMCRA and the

  APA require the Court to hold the Mine Approval unlawful. See NLRB, 380

  U.S. at 292; Chenery Corp., 318 U.S. at 94.

                                    COUNT 3

     106. Citizens hereby adopts by reference the previous paragraphs.

     107. On their faces, the Review Act and the Cloture Rule, together, violate

  separation of powers.

     108. They create a one-way ratchet that, over time, erodes and

  undermines the Executive Branch’s authority. The Executive Branch obtains

  powers only from two sources: directly from the Constitution, and from

  Congress delegating statutory authority to accomplish particular ends.

     109. The Review Act, over time, reduces the statutory delegations of

  authority by making it easier to rescind statutory delegations, but the

  Cloture Rule makes it harder to expand those same statutory delegations.

     110. The separation of powers prohibits Congress from creating legislative

  structures that erode or undermine another branch. The Review Act and the

  Cloture Rule, together, violate the separation of powers principles in the

  Constitution by hobbling the Executive Branch.




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     111. As a consequence of applying an unconstitutional law, OSMRE failed

  to apply the Stream Protection Rule to the Mine Approval and therefore

  violated SMCRA. Because OSMRE applied the wrong law, SMCRA and the

  APA require the Court to hold the Mine Approval unlawful. See NLRB, 380

  U.S. at 292; Chenery Corp., 318 U.S. at 94.

                             PRAYER FOR RELIEF

     112. Citizens requests the following relief:

        a. Declare unconstitutional and void the two-tier structure for passing

  bills, under the Congressional Review Act and the Cloture Rule.

        b. Declare the Stream Protection Rule, 81 Fed. Reg. 93,066 (Dec. 20,

  2016), valid and enforceable against the United States and the respective

  defendants.

        c. Vacate and set aside the King II Mine Modification Approval.

        d. Remand the King II Mine Modification Approval for reconsideration

  consistent with the Stream Protection Rule.

        e. Enjoin all mining activities under the King II Mine Modification

  Approval until the Agencies comply with the Constitution, SMCRA, the

  Stream Protection Rule, and the APA.

        f. Issue temporary relief that stops the Mine under 30 U.S.C. § 1276(c)

  until the Court rules on a final remedy.




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        g. Award attorney fees and costs in favor of Citizens for Constitutional

  Integrity and Southwest Advocates, Inc.

        h. Any other and further relief as the Court concludes necessary or

  appropriate.

        Dated December 15, 2020,

                                _/s/ Jared S. Pettinato___________________
                                JARED S. PETTINATO, DC Bar No. 496901
                                The Pettinato Firm
                                3416 13th St. NW, #1
                                Washington, DC 20010
                                (406) 314-3247
                                Jared@JaredPettinato.com

                                Attorney for Plaintiffs




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